Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 1 of 10 Page ID #:621



    1   MAYER BROWN LLP
        PAUL M. FAKLER (pro hac vice)
    2   pfakler@mayerbrown.com
        JACOB B. EBIN (pro hac vice forthcoming)
    3   jebin@mayerbrown.com
        ALLISON AVIKI (pro hac vice)
    4   aaviki@mayerbrown.com
        1221 Avenue of the Americas
    5   New York, New York 10020-1001
        Telephone: (212) 506-2500
    6   Facsimile: (212) 262-1910
    7   MAYER BROWN LLP
        JOHN NADOLENCO (SBN 181128)
    8   jnadolenco@mayerbrown.com
        DANIEL D. QUEEN (SBN 292275)
    9   dqueen@mayerbrown.com
        MEERIM A. NEHME (SBN 322234)
  10    mnehme@mayerbrown.com
        350 S. Grand Avenue, 25th Floor
  11    Los Angeles, California 90071-1503
  12    Telephone: (213) 229-9500
        Facsimile: (213) 625-0248
  13    [Additional counsel listed on signature page]
  14    Attorneys for Counterclaimant
  15    PANDORA MEDIA, LLC

  16                        UNITED STATES DISTRICT COURT
  17                      CENTRAL DISTRICT OF CALIFORNIA
  18
        In re PANDORA MEDIA, LLC                Master File No.: 2:22-cv-00809-MCS-MAR
  19
        COPYRIGHT LITIGATION                    CONSOLIDATED ACTION
  20
                                                DEFENDANT AND
  21                                            COUNTERCLAIMANT PANDORA
                                                MEDIA, LLC’S OPPOSITION TO
  22                                            PLAINTIFFS’ JOINDER IN MOTION
                                                TO DISMISS
  23    This Document Relates To:
        ALL ACTIONS                             Filed concurrently with Pandora’s
  24                                            Opposition to Motion to Dismiss and
                                                Pandora’s Opposition to Request for
  25                                            Judicial Notice
  26                                            Date: August 29, 2022
                                                Time: 9:00 AM
  27                                            Crtrm: 7C - First Street Courthouse
                                                       350 W. 1st Street, 7th Floor
  28                                                   Los Angeles, CA 90021


                  PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 2 of 10 Page ID #:622




    1         Counterclaimant Pandora Media, LLC (Pandora) respectfully submits the
    2   following opposition to Plaintiffs/Counterclaim Defendants Yellow Rose
    3   Productions Inc., on behalf of Bill Engvall; Main Sequence, Ltd.; Ron White, Inc.,
    4   on behalf of Ron White; Robin Williams Trust; Brave Lion, Inc., on behalf of
    5   Andrew Clay Silverstein a/k/a Andrew Dice Clay; Nick Di Paolo, individually and
    6   on behalf of Acid Tongue, Inc.; and Mary Reese Hicks, individually and on behalf
    7   of Arizona Bay Production Co., Inc. (collectively, the Plaintiffs) Joinder in Motion
    8   to Dismiss by Counterclaim Defendant Word Collections, Inc. (WC) (Joinder
    9   Motion).
  10                                  INTRODUCTION
  11          There is an old legal aphorism that says: “When the law is on your side, pound
  12    the law. When the facts are on your side, pound the facts. When neither is on your
  13    side, pound the table.” Plaintiffs’ Joinder Motion contains strenuous table-pounding
  14    and nothing else. Despite their promise to submit their own additional “[p]oints and
  15    [a]uthorities in support of” Word Collections’ independent, separately filed motion
  16    to dismiss Pandora’s antitrust counterclaims, the Plaintiffs’ “joinder” brief offers
  17    nothing of the sort. Nowhere within Plaintiffs’ memorandum do they make a single
  18    relevant point or cite a single case on any point, relevant or not. Rather, the Plaintiffs
  19    have submitted a five-page diversionary tirade that does not even contain a single
  20    sentence specifying the extent to which they join in WC’s motion or the basis for
  21    doing so. Instead, the claimed “joinder” flings conclusory insults at Pandora, deriding
  22    Pandora’s counterclaims as “pre-textual” in nature and its relief sought as
  23    “respectfully, inane.” Joinder Mot. at 2, 5. Nowhere do the Plaintiffs deign to offer
  24    any authority suggesting that their hurt feelings equal legally cognizable grounds for
  25    dismissal of Pandora’s well-pled antitrust counterclaims. As Pandora lays out below,
  26
  27
  28
                                                  -1-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 3 of 10 Page ID #:623




    1   and as the Plaintiffs’ failure to cite a single case portended, there is none.1
    2         But the Joinder Motion should be turned aside for the additional reason that it
    3   is an improper attempt by the Plaintiffs to rehash their own copyright infringement
    4   claims—and in the process mischaracterize Pandora’s Answer and defenses to those
    5   claims. The Plaintiffs have now filed more than 150-pages by way of Complaints
    6   against Pandora; if nothing else, they have had ample opportunity to pontificate as to
    7   the purported bases for their copyright claims. That the Plaintiffs clearly do not like
    8   what Pandora had to say in response does not legitimize their effort to litigate the
    9   merits of those claims via the guise of a “joinder” motion where the motion
  10    supposedly joined is directed at wholly different claims. Moreover, in attempting to
  11    divert the Court’s attention away from their total failure to address the adequacy of
  12    Pandora’s antitrust counterclaims as actually pled, Plaintiffs mischaracterize the law
  13    and facts related to their copyright claims, as well as the nature of Pandora’s defenses
  14    to those claims. Not only are these unsupported arguments irrelevant, they are wrong.
  15    The Plaintiffs’ Joinder Motion thus fails to establish (or even to seriously attempt to
  16    identify) a single inadequacy in Pandora’s counterclaims. In any event, disputes over
  17    the merits of Plaintiffs’ copyright claims are appropriately resolved not on a motion
  18
  19
        1 While the Plaintiffs decline to offer a single case in support of the Joinder Motion,
  20    they offer a raft of news articles in an attempt to present new factual allegations
        concerning Pandora’s market share and unrelated litigations involving another
  21    streaming service. Joinder Mot. 3, 4 n.5-6. Unlike WC, which at least filed a request
        for judicial notice of various documents (most themselves improper candidates), the
  22    Plaintiffs simply cite materials without troubling to explain on what basis they
        purport to do so. Pandora opposes the implicit request for judicial notice of news
  23    articles, frequently deemed to be materials not noticeable where (as here) such
        articles are neither relied upon nor referred to in Pandora’s counterclaims. See, e.g.,
  24    Gerritsen v. Warner Bros. Entm’t Inc., 112 F. Supp. 3d 1011, 1028-29 (C.D. Cal.
        2015) (denying request for judicial notice of information contained in news articles
  25    because “often, the accuracy of information in newspaper articles and press releases
        cannot be readily determined and/or can be reasonably questioned”); In re Am.
  26    Apparel, Inc. 2014 Derivative S’holder Litig., 2015 WL 12724070, at *10 (C.D. Cal.
        Apr. 28, 2015) (“[T]he Court cannot take judicial notice of the articles for the purpose
  27    of accepting the facts contained therein. The news articles are therefore not relevant
        for evaluating the allegations in the Complaint, and are improper subjects of judicial
  28    notice.”).
                                                  -2-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 4 of 10 Page ID #:624




    1   to dismiss, but at summary judgment—and Pandora looks forward to disposing of
    2   those claims at that time.
    3                                LEGAL STANDARD
    4         On a motion to dismiss, the complaint’s factual allegations are “taken as true[,]
    5   and construed in the light most favorable to Plaintiffs.” Moore v. Mars Petcare US,
    6   Inc., 966 F.3d 1007, 1016 (9th Cir. 2020). Such motions are denied when the
    7   pleading contains “sufficient factual matter, accepted as true, to ‘state a claim to relief
    8   that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
    9   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The applicable plausibility
  10    standard “simply calls for enough facts to raise a reasonable expectation that
  11    discovery will reveal evidence” to support the allegations. Twombly, 550 U.S. at 556.
  12    In fact, a complaint “may proceed even if it strikes a savvy judge that actual proof of
  13    [the] facts is improbable, and that a recovery is very remote and unlikely.” Id.
  14    (quotation cleaned); see also, e.g., Starr v. Baca, 652 F.3d 1202, 1216-17 (9th Cir.
  15    2011) (“The standard at this stage of the litigation is not that plaintiff’s explanation
  16    must be true or even probable.”). There is, moreover, “no special pleading rule
  17    requiring greater factual specificity in antitrust cases.” Momento, Inc. v. Seccion
  18    Amarilla USA, 2009 WL 10696217, at *1 (N.D. Cal. Sept. 17, 2009); accord Newcal
  19    Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045 (9th Cir. 2008).
  20          Courts allow one party to join in a motion brought by another when “either (1)
  21    the parties are so similarly situated that filing an independent motion would be
  22    redundant, or (2) the party seeking joinder specifically points out: which parts of the
  23    motion apply to the joining party, the joining party’s basis for standing, and the
  24    factual similarities between the joining party and moving party that give rise to a
  25    similar claim or defense.” Tatung Co., Ltd. v. Shu Tze Hsu, 217 F. Supp. 3d 1138,
  26    1151-52 (C.D. Cal. 2016) (citations omitted).
  27
  28
                                                   -3-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 5 of 10 Page ID #:625




    1                                     ARGUMENT
    2       I.   The Bulk Of The Joinder Motion Argues The Disputed Factual
    3            Bases For The Plaintiffs’ Copyright Claims, None Of Which
                 Justifies Dismissal Of Pandora’s Counterclaims.
    4
    5            Clearly unable to muster any valid argument as to why Pandora’s antitrust
    6   counterclaims should be dismissed, the Plaintiffs resort to ad hominem-styled
    7   accusations, depicting Pandora’s well-pled claims as “vindictive” and “designed to
    8   intimidate.” Joinder Mot. at 1-2. As discussed further below, Plaintiffs fail to support
    9   these assertions with any facts or law. Instead, they spend most of the Joinder Motion
  10    arguing their belief that their underlying “copyright infringement lawsuits are . . .
  11    supported by the facts and the law[.]” Id. at 5. Building to that conclusion, the
  12    Plaintiffs repeat and amplify various irrelevant allegations and arguments: from their
  13    assessment of the U.S. Copyright Act and rights thereunder (Joinder Mot. 4-5) to the
  14    assertion that Pandora “got together” with other digital service providers to strike a
  15    “secret agreement” regarding industry custom and practice for licensing recorded
  16    comedy (id. at 3-4).2
  17             Whether mere regurgitation of false allegations in Plaintiffs’ Amended
  18    Consolidated Complaint or a backdoor attempt to amend its operative pleading, this
  19    Court has previously held resolution of disputed factual allegations is “inappropriate
  20    for decision on a motion to dismiss.” Stevens v. Britax Child Safety, Inc., 2021 WL
  21    4706702, at *6 (C.D. Cal. July 13, 2021) (J. Scarsi); see also Antablin v. Motion
  22
  23
        2 Surprisingly, the Plaintiffs state (without citation) that Pandora is the party that
  24    made this allegation. Joinder Mot. at 3. Saying something appears in Pandora’s
        counterclaims does not, however, make it so—and the error is particularly obvious
  25    in light of Pandora’s allegation that the “industry custom and practice” at play
        “predat[ed] Pandora by many decades.” Counterclaims ¶ 41; see also Answer &
  26    Defenses at 2 (referring to “many decades” of record labels, home video companies,
        and others performing, copying and distributing comedy material). Contrary to
  27    Plaintiffs’ mischaracterizations, this “industry custom and practice” refers to decades
        of widespread and consistent custom and practice in the comedy industry, and not
  28    merely with respect to streaming services.
                                                  -4-
                     PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 6 of 10 Page ID #:626




    1   Picture Costumers, Loc. #705, 2021 WL 4731339, at *5 (C.D. Cal. Feb. 16, 2021)
    2   (J. Scarsi) (“Whether the causes animating Plaintiff’s [inspection claim under the
    3   Labor Management Reporting and Disclosure Act] meet the legal standard is a
    4   question of fact inappropriate for determination on a motion to dismiss.”). The Court
    5   should hold the same here.
    6         More egregiously, the Plaintiffs not only seek to amplify their own distinct
    7   copyright infringement claims through the improper vehicle of a motion to dismiss
    8   Pandora’s antitrust claims—they also ignore and distort Pandora’s pleadings. Two
    9   ready—but far from exhaustive—examples: the Plaintiffs assert that Pandora does
  10    not claim that it had a license to exploit the works asserted against it and does not
  11    claim to have paid the Plaintiffs for exploitation of those works. Joinder Mot. at 1.
  12    Pandora’s vigorous dispute of exactly those two points appear at, inter alia, Answer
  13    & Defenses at ¶¶ 21-24, 38-40, 52-54, 66-68, 80-83, 94-96, 112-14, 123-28, 136,
  14    139-41; Counterclaims at ¶¶ 2, 6, 35, 40-43. Pandora’s counterclaims could not be
  15    any clearer, explaining that “Pandora has always taken licenses for the comedy
  16    recordings that it offers, and through those licenses has obtained (either explicitly or
  17    implicitly) all of the rights it needs to stream those recordings.” Counterclaims ¶ 41.
  18    And “since it began playing comedy and other spoken-word recordings, Pandora has
  19    paid out millions of dollars each year in royalties for the use of those recordings to
  20    record labels and SoundExchange, which, in turn, should be paying the
  21    comedians”—this in stark contrast to other outlets that “pay nothing at all to
  22    comedians.” Answer & Defenses at 4 n.1; see also Counterclaims ¶¶ 2, 31, 41.
  23          In the most charitable interpretation available based upon the content of the
  24    Joinder Motion, Plaintiffs seem to be arguing that Pandora’s antitrust counterclaims
  25    should be dismissed because Plaintiffs believe Pandora is liable for copyright
  26    infringement. Indeed, Plaintiffs go so far as to argue that the antitrust remedies
  27    sought by Pandora, including a ruling that the Plaintiffs’ copyrights—to the extent
  28
                                                  -5-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 7 of 10 Page ID #:627




    1   they own any—are unenforceable against Pandora until such time as Plaintiffs cease
    2   violating the antitrust laws, are “respectfully, inane” merely because Plaintiffs allege
    3   their copyrights were infringed. As a preliminary matter, this argument is a non
    4   sequitur. Moreover, Plaintiffs have things precisely backwards. Under the doctrine
    5   of copyright misuse, a copyright owner’s anticompetitive (or otherwise improper)
    6   conduct may render its copyrights unenforceable until such time as the conduct
    7   ceases. Notably, the misuse defense to copyright infringement is available even
    8   where that anticompetitive conduct does not give rise to actionable antitrust claims.
    9   Practice Mgmt. Info. Corp. v. Am. Med. Ass’n, 121 F.3d 516, 520-21 (9th Cir. 1997).
  10    In light of these established legal principles, it should come as no surprise that the
  11    imaginary, contrary rule advanced by Plaintiffs—that their antitrust violations may
  12    not even be considered because they claim their copyrights were infringed—has
  13    never been recognized by any court, and Plaintiffs certainly cite no precedent for
  14    their table-pounding argument.
  15    II.   Even Where The Plaintiffs Discuss Pandora’s Counterclaims, They
  16          Offer No Cognizable Grounds For Dismissal.
  17          As best Pandora can discern, the only arguments the Plaintiffs advance as
  18    grounds for dismissal of Pandora’s antitrust counterclaims are: (1) the counterclaims
  19    are “retaliatory”; and (2) late. These arguments are not only free of any legal authority
  20    (a notable absence given the 10 weeks the Plaintiffs had to prepare the Joinder
  21    Motion), they are also in tension with one another, as well as contradicted by the very
  22    same WC brief that the Plaintiffs seek to join.
  23          To start, courts in the Central District of California do not recognize any means
  24    by which simply crying “retaliation” provides the basis for dismissal of a
  25    counterclaim. See Rivas v. Coverall N. Am., Inc., 2019 WL 6332245, at *3 (C.D. Cal.
  26    July 12, 2019) (declining motion to dismiss counterclaim accused of being “blatantly
  27    retaliatory”). The same holds true outside this district, where courts view parties
  28    advancing grievances like the Plaintiffs’ as “ignor[ing] the realities of the adversarial

                                                  -6-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 8 of 10 Page ID #:628




    1   process and the structure of the Federal Rules of Civil Procedure.” Burke v. Cumulus
    2   Media, Inc., 2017 WL 783466, at *2 (E.D. Mich. Mar. 1, 2017). At bottom, “[t]he
    3   filing of non-frivolous, mandatory or permissive counterclaims cannot form the basis
    4   of a claim of retaliation…” Id. Nor is there anything insidious, or even unusual, in
    5   copyright infringement claims proceeding alongside antitrust counterclaims in the
    6   same proceeding. The Plaintiffs brought their claims, and Pandora answered. Pandora
    7   has also filed counterclaims, which the Plaintiffs’ Joinder Motion nowhere argues
    8   were insufficiently pled. This failure was clearly not a mere oversight, as the Joinder
    9   Motion demonstrates some understanding of Pandora’s counterclaims, including the
  10    impropriety of WC’s consolidation of exclusive rights—to which the Plaintiffs
  11    respond that WC was too small to wield power—and the unlawful conspiracy to fix
  12    prices—to which they snipe that Pandora’s actions on this front are “ironic.” See
  13    Joinder Mot. at 2-3 & n.3. To the extent the Plaintiffs dispute Pandora’s factual
  14    allegations against them, the proper place to state those disagreements is an answer;
  15    they should be ordered to file one.
  16          Next, and inconsistently, the Plaintiffs appear to suggest that Pandora could
  17    have brought viable antitrust claims against them and WC, but only if Pandora had
  18    done so prior to Plaintiffs’ filing of their copyright infringement claims. It is lost on
  19    Pandora how its antitrust claims would have been sufficient, apparently but for the
  20    fact that Pandora elected to bring them pursuant to the federally recognized
  21    procedural mechanism of counterclaims. Moreover, while Pandora brings its claims
  22    too late for the Plaintiffs’ liking, WC criticizes Pandora for lodging the same claims
  23    too soon. See Mot. to Dismiss at 8-9 (claiming that Pandora lacks standing because
  24    it first needs to suffer payment of the extortionate fees demanded by WC). They are
  25    both wrong. Plaintiffs do not articulate any legal basis for claiming that Pandora
  26    waited too long to file its antitrust claims. In any event, the statute of limitations on
  27
  28
                                                  -7-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 9 of 10 Page ID #:629




    1   those claims is four years, 15 U.S.C. § 15b, and Pandora has standing to pursue those
    2   claims for the reasons explained in its concurrently filed opposition to WC’s brief.3
    3 III.    Plaintiffs Fail to Meet Their Burden to Establish Proper Motion
    4         Joinder.
    5         As noted above, there are two possible proper grounds for the Plaintiffs to join
    6   WC’s motion to dismiss: “either (1) the parties are so similarly situated that filing an
    7   independent motion would be redundant, or (2) the party seeking joinder specifically
    8   points out: which parts of the motion apply to the joining party, the joining party’s
    9   basis for standing, and the factual similarities between the joining party and moving
  10    party that give rise to a similar claim or defense.” Tatung Co., 217 F. Supp. 3d at
  11    1151-52 (citations omitted). In the Joinder Motion, Plaintiffs do not even attempt to
  12    establish either one of these grounds. If the Plaintiffs view themselves as “so similarly
  13    situated” to WC “that filing an independent motion would be redundant,” it is
  14    incumbent on them as the party seeking joinder to articulate that. Id. They fail to. Nor
  15    do they provide, in the alternative, “sufficient notice” of which grounds for dismissal
  16    by WC they “wish[] to join.” Id. at 1152. Such notice “is not an unimportant
  17    technicality, but a vital procedural safeguard”; without it, both Pandora and the Court
  18    are “left to guess how and why the motion[] sought to be joined appl[ies]” to the
  19    Plaintiffs. Id. (denying notice of joinder); see also United States v. Cerna, 2011 WL
  20    500229, at *12 (N.D. Cal. Feb. 9, 2011) (denying joinder motions “totally devoid of
  21
  22
        3 Insofar as Plaintiffs seem to argue that Pandora’s counterclaims should be dismissed
  23    because Pandora does not also name as defendants individual comedians (or estates)
        who were not parties to the initiating copyright infringement suit (see Joinder Mot.
  24    at 3), that is of no moment. It is well-established that a party asserting antitrust claims
        against a cartel is not required to bring claims against every member of the cartel,
  25    including because—as the Ninth Circuit explained—“[a]ntitrust conspirators are
        liable for the acts of their co-conspirators,” meaning it “therefore follows that a
  26    plaintiff is not required to sue all of the alleged conspirators inasmuch as antitrust
        coconspirators are jointly and severally liable for all damages caused by the
  27    conspiracy.” Ward v. Apple Inc., 791 F.3d 1041, 1048 (9th Cir. 2015) (internal
        citations and quotations omitted) (abrogated on other grounds by Sperring v. LLR,
  28    Inc., 995 F.3d 680, 681 (9th Cir. 2021)).
                                                   -8-
                   PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
Case 2:22-cv-00809-MCS-MAR Document 56 Filed 08/05/22 Page 10 of 10 Page ID #:630




    1   explanation as to why any of the [motions sought to be joined] apply”). The
    2   Plaintiffs’ Joinder Motion should be denied on this basis alone.
    3                                 CONCLUSION
    4         For the reasons set forth above, the Plaintiffs’ Joinder Motion should be
    5   denied.
    6
        Dated: August 5, 2022                      MAYER BROWN LLP
    7                                              PAUL M. FAKLER
                                                   JACOB B. EBIN
    8                                              ALLISON AVIKI
                                                   WILLIAM H. STALLINGS
    9                                              CHRISTOPHER J. KELLY
                                                   JOHN NADOLENCO
   10                                              DANIEL D. QUEEN
                                                   MEERIM NEHME
   11
   12
                                                   By: /s/ Paul M. Fakler
   13                                                 Paul M. Fakler
   14
                                                   MAYER BROWN LLP
   15                                              WILLIAM H. STALLINGS (pro hac vice)
                                                   wstallings@mayerbrown.com
   16                                              1999 K Street, NW
                                                   Washington, D.C. 20006-1101
   17                                              Telephone: (202) 263-3000
                                                   Facsimile: (202) 262-3300
   18
                                                   MAYER BROWN LLP
   19                                              CHRISTOPHER J. KELLY (SBN
                                                   276312)
   20                                              cjkelly@mayerbrown.com
                                                   Two Palo Alto Square
   21                                              3000 El Camino Real
                                                   Palo Alto, California 94306-2112
   22                                              Telephone: (650) 331-2000
                                                   Facsimile: (650) 331-2060
   23
                                                   Attorneys for Defendant
   24                                              PANDORA MEDIA, LLC
   25
   26
   27
   28
                                                -9-
                  PANDORA MEDIA, LLC’S OPPOSITION TO PLAINTIFFS’ JOINDER IN MOTION TO DISMISS
